                Case:
ILND 450 (Rev. 10/13)     1:22-cv-01904
                      Judgment in a Civil Action   Document #: 18 Filed: 06/24/22 Page 1 of 1 PageID #:52

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

 Joseph Collora,

 Plaintiff(s),
                                                                    Case No. 22 C 1904
 v.                                                                 Judge Franklin U. Valderrama

 McDonald's Corporation,

 Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $ ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)

         Defendant(s) shall recover costs from plaintiff(s).


              other: This case is consolidated with related case, McDowell v. McDonald's Corp., 22-cv-1688
under case number 22-cv-1688. In view of the consolidation, this case is closed. Civil case terminated.

This action was (check one):

      tried by a jury with Judge      presiding, and the jury has rendered a verdict.
      tried by Judge      without a jury and the above decision was reached.
      decided by Judge Franklin U. Valderrama on a motion.



Date: 6/24/2022                                                 Thomas G. Bruton, Clerk of Court

                                                                Analeah Charles, Deputy Clerk
